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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;7&lt;/A&gt;-00&lt;A NAME="2"&gt;595&lt;/A&gt;-CR&lt;/CENTER&gt;


&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Keith Joseph DeGruy&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;264TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;46,000&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JACK W. PRESCOTT&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;In February 1996, appellant pleaded guilty to an indictment accusing him of burglary of a
habitation.  The district court found that the evidence substantiated appellant's guilt, deferred further
proceedings, and placed appellant on community supervision.  In August 1997, the court revoked
supervision, adjudicated appellant guilty, and sentenced him to imprisonment for ten years. &lt;/P&gt;

&lt;P&gt;The State has filed a motion to dismiss.  The clerk's record contains a written waiver of
appeal signed by appellant, his attorney, and the trial judge.  This document, which reflects a knowing and
voluntary waiver of the right to appeal, was signed on the day sentence was imposed in open court.  A
defendant who knowingly and intelligently waives his right to appeal may not thereafter appeal without the
consent of the trial court.  &lt;EM&gt;Ex parte Dickey&lt;/EM&gt;, 543  S.W.2d 99 (Tex. Crim. App. 1976); &lt;EM&gt;see also Hurd v.
State&lt;/EM&gt;, 548  S.W.2d 388 (Tex. Crim. App. 1977); &lt;EM&gt;Reed v. State&lt;/EM&gt;, 516  S.W.2d 680 (Tex. Crim. App.
1974).  There is nothing in the record to indicate that appellant sought or obtained the permission of the
trial court to pursue this appeal.&lt;/P&gt;

&lt;P&gt;The motion is granted and the appeal is dismissed.&lt;/P&gt;

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&lt;P&gt;Before Justices Powers, Kidd and B. A. Smith&lt;/P&gt;

&lt;P&gt;Dismissed for Want of Jurisdiction&lt;/P&gt;

&lt;P&gt;Filed:  February 5, 1998&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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